Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 1 of 16 PagelD: 1

JOSEPH J, GARVEY*”
ROBERT A. BALLOU, JR.”
SUZANNE WHITE BALLOU

GARVEY BALLOU

A PROFESSIONAL CORPORATION
COUNSELLORS AT LAW
1973 Route 34
Suite 204

SCERTIFIED CIVIL TRIAL ATTORNEY
“MEMBER NJ & D.C BARS

“MEMBER N J & NY BARS
WALL, NEW JERSEY 07719

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Telefax: (732) 240-6704
e-mail: thefirm@courthouselane.com
Mailing Address:
P.O. Box 730
Allenwood, NJ 08720-0730

OUR FILE NO. 131.25598

May 7, 2021
ELECTRONICALLY FILED
Clerk of Court
United States District Court
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

Re: Grace Abankwe v. Costco Wholesale Corporation

Docket No.: MER-L-919-21

Dear Clerk:

Please be advised that the undersigned has been retained to represent the
defendant, Costco Wholesale Corporation, in connection with the above
referenced matter.

In that regard, enclosed herein you will find defendant’s Notice of Removal.
If you have any questions, please do not hesitate to contact me.

Very truly yours,

(sf Robert A. Ballow, Jr., Esq
ROBERT A. BALLOU, UR
rbhallou@courthouselane.com

RAB: ch
Enclosure
cc: Deb Hartigan 571648-GB-01
Patricia Z. Boguslawski, Esq.., Patricia@dsslaw.com
Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 2 of 16 PagelD: 2

 

GARVEY, BALLOU

A PROFESSIONAL CORPORATION

COUNSELLORS AT LAW

PO Box 730

Allenwood, NJ 08720

(732) 341-1212

Attorneys for Defendant(s), Costco Wholesale Corporation
Our File No. 131.25598 RAB/ch

Attorney ID#: 017381982

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

GRACE ABANKWE SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: MERCER COUNTY
Plaintiff(s), DOCKET NO. MER-L-919-21
Vs.
Civil Action

COSTCO WHOLESALE CORPORATION,
JOHN DOE(s) 1-10 (fictitious
names representing unknown
individuals) and/or XYZ CORP(s).
1-10 (fictitious names
representing unknown
corporations, partnerships
and/or Limited Liability
Companies or other types of
legal entities)

NOTICE OF REMOVAL

Defendant (s}

 

Notice of Removal of State Court Action to U.S. District Court

PLEASE TAKE NOTICE that defendant, Costco Wholesale Corporation
(“Costco”), through its undersigned counsel, hereby files this Notice of
Removal pursuant to 28 U.S.C. §1446. Costco hereby removes to the District
Court of New Jersey all claims and causes of action in the civil action
Grace Abankwe v Costco Wholesale Corporation, Docket No. MER-L-919-21, now
pending in the Superior Court of New Jersey, Law Division, Mercer County
(the “State Court Action”).

The grounds for removal are as follows:
28 U.S.C. § 1446

il, On January 6, 2020, plaintiff, residing in Princeton, New
Jersey, Mercer County, New Jersey, filed a Complaint in the Superior Court,
Law Division, Mercer County against Costco Wholesale Corporation asserting

a claim under State Law.

2. This Notice of Removal is filed in the United States District
Court for the District of New Jersey, the District Court of the United

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States for the District and Division within which the State Action is
pending. 28 U.S.C. § 1446(a); 1441(a).

3. This Notice of Removal is signed pursuant to Rule 11 of the
Federal Rules of Civil Procedure. 28 U.S.C. § 1446(a).

4, Annexed hereto as Exhibit “A” is a copy of the Complaint and
process served upon the defendant in the State Action. 28 U.S.C. § 1446(a).

5. The Complaint was filed on April 30, 2021, and served upon
defendant.
6. As of this date, none of the defendants have filed a responsive

pleading in the action commenced by plaintiff in the Superior Court of New
Jersey, Law Division, Mercer County, and no other proceedings have
transpired in that action.

7. The Complaint arises from the plaintiff's contention that on
January 6, 2020, while at Costco Wholesale Store located at 410 Quakerbridge
Road, in Lawrenceville, New Jersey she tripped and fell. She claims

personal injuries as a result for which she seeks damages.

8. It is clear the amount in controversy will exceed $75,000. In
that regard, this factor for removal is based upon allegations in the
Complaint as to the plaintiffs’ injuries as noted above.

9. As of the filing of this Notice of Removal, the undersigned has
no knowledge that any other defendant has been successfully served pursuant
to 28 U.S.C. § 1446(b) (2) (A) and therefore cannot and need not obtain
consent of the other named defendant.

10. This Notice is now filed with the Court on May 7, 2021, within
thirty (30) days after the receipt by the defendant, through service or
otherwise, of a copy of the initial pleading setting forth the claim for
relief upon which such action or proceeding is based, and within one (1)
year of commencement of the State Action. 28 U.S.C. § 1446(b).

11. Annexed hereto as Exhibit “B” is the Notice to the Clerk of the
Superior Court Mercer County of Removal of Action to the United States
District Court with regard to the State Aetion, which will be filed with
the Clerk upon return of this Notice of Removal stamped “received”. 28
U.S.C. § 1446(d).

12. Annexed hereto as Exhibit “C” is the Notice to Adversary of
Removal of Action, which will be served promptly upon return of this Notice
of Removal stamped “received”. 28 U.S.C. § 1446(d).

28 U.S.C. § 1441

13. This Notice of Removal is filed in the District of New Jersey,
the District Court of the United States for the District and Division

 

 
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embracing the place where the State Action is pending. 28 U.S.C. §
1441 (a); 1446(a).

14. The plaintiff is a citizen of the State of New Jersey, residing
at 100 Albert Way, Princeton, New Jersey 08540.

15. Defendant, Costco is a Corporation with its principle place of
business in State of Washington where it was incorporated and where it has
its principle place of business with corporate headquarters located at 999
Lake Dr., Issaquah, Washington 98027.

16. The State Action is a Civil Action of which District Courts of
the United States have original jurisdiction by virtue of a claim where the
matter in controversy exceeds the sum or value of Seventy Five Thousand
($75,000.00) Dollars, exclusive of interest and costs and is between
citizens of different states. 28 U.S.C. § 1332(a).

17. Since our original filing, I have spoken with plaintiff's
attorney, Patricia Z. Boguslawski, Esq., of the Davis, Saperstein & Salomon
Law Firm following-up on my Request for Statement of Damages. Based upon

the foregoing, he was unable to stipulate plaintiff’s damages in an amount
below $75,000.00.

WHEREFORE, please take notice that this cause should proceed in the
United States District Court for the District of New Jersey, as an action
properly removed thereto.

GARVEY BALLOU

BY:__/3f Robert A. Ballow, Ir.
ROBERT A. BALLOU, JR., ESQ.
Attorneys for Defendant
Costco Wholesale Corporation

Dated: May 7, 2021

 

 
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EXHIBIT A
Case 3

Patricia Z. Boguslawski, Esq. - 007602004
DAVIS, SAPERSTEIN & SALOMON, P.C.
375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

Fax: (201) 692-0444

Attorneys for Plaintiff(s),

MER Y-DOSS49RLIWVe4I30/20a0 eLBReHt AM Figd OS6OFAR IP age B0af 160Bz2@ 1D: 6

 

Grace Abankwe,

Plaintiff(s),
7 VS -

Costco Wholesale Corporation, John Does 1-
10 (fictitious names representing unknown
individuals) and/or XYZ Corps. 1-10
(fictitious names representing unknown
corporations, partnerships and/or Limited
Liability Companies or other types of legal
entities)

Defendant(s).

LAW DIVISION: MERCER COUNTY

DOCKET NO: MER-L-

COMPLAINT AND JURY DEMAND

 

 

 

Plaintiff Grace Abankwe residing in the County of Mercer, 100 Albert Way, Princeton,

New Jersey, 08540, by way of Complaint against the Defendants says:

SUPERIOR COURT OF NEW JERSEY

Civil Action

DAVIS, SAPERSTEIN & SALOMON, P.C.
375 Cedar Lane
Teaneck, New Jersey 07666-3433
(201) 907-5000

 
Case StMERN-DOS919RLWVOLIC/2020cLBAETILAM Fiked O&O 7AM IDPagA/Z0af 1 60BzgR ID: 7

FIRST COUNT

l. On or about January 6, 2020, the Plaintiff Grace Abankwe was a business invitee
lawfully upon the premises owned, operated, leased, controlled, supervised, managed and/or
maintained and/or repaired and/or inspected by the Defendants Costco Wholesale Corporation,
John Does 1-10 and/or XYZ Corps. 1-10 located at or near 4100 Quakerbridge Road, in the
Township of Lawrence (Lawrenceville), County of Mercer, and the State of New Jersey.

2. Upon information and belief, at all relevant times herein mentioned, the Defendant
Costco Wholesale Corporation was a foreign profit corporation authorized to do business in the
State of New Jersey, with its main business address located at 999 Lake Drive, Issaquah,
Washington, 98027.

Ee At the aforesaid time and place, due to the careless, reckless and negligent
ownership, operation, lease, control, supervision, management and/or maintenance and/or repair
and/or inspection of the premises by the Defendants Costco Wholesale Corporation, John Does
1-10 and/or XYZ Corps. 1-10, the Plaintiff Grace Abankwe was caused to trip and fall, thereby
causing the Plaintiff Grace Abankwe to sustain severe personal injuries.

4, As a direct and proximate result of the aforesaid carelessness, recklessness, and
negligence of the Defendants Costco Wholesale Corporation, John Does 1-10 and/or XYZ
Corps. 1-10, the Plaintiff Grace Abankwe was injured in and about her mind and body; was and
will in the future be caused great pain and suffering to her mind and body; was and will in the
future be obliged to expend great sums of money for medical aid and attention; has sustained
economic loss; and was and will in the future be unable to attend to her usual pursuits and

occupations and was further damaged.

DAVIS, SAPERSTEIN & SALOMON, P.C.
-2- 375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

 

 

 
Case 3:

 

a

 

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WHEREFORE, the Plaintiff Grace Abankwe demands judgment against the Defendants
Costco Wholesale Corporation, John Does 1-10 and/or XYZ Corps. 1-10, individually, jointly or
severally, for damages together with interest and costs of suit.

SECOND COUNT

1. Plaintiff Grace Abankwe repeats each and every allegation of the First Count of
the Complaint as if set forth at length herein verbatim.

2. At the aforesaid time and place, the Defendants Costco Wholesale Corporation,
John Does 1-10 and/or XYZ Corps. 1-10 were independent contractors responsible for the
upkeep and/or maintenance and/or repairs and/or inspection of the aforementioned premises.

3. As a direct and proximate result of the careless, reckless, and negligent upkeep
and/or maintenance and/or repair and/or inspection of the premises by the Defendants Costco
Wholesale Corporation, John Does 1-10 and/or XYZ Corps. 1-10, the Plaintiff Grace Abankwe
was caused to trip and fall, thereby causing the Plaintiff Grace Abankwe to sustain severe
personal injuries.

4, As a direct and proximate result of the aforesaid carelessness, recklessness and
negligence of the Defendants Costco Wholesale Corporation, John Does 1-10 and/or XYZ
Corps. 1-10, the Plaintiff Grace Abankwe was injured in and about her mind and body; was and
will in the future be caused great pain and suffering to her mind and body; was and will in the
future be obliged to expend great sums of money for medical aid and attention; has sustained
economic loss; and was and will in the future be unable to attend to her usual pursuits and

occupations and was further damaged.

DAVIS, SAPERSTEIN & SALOMON, P.C.
-3- 375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

 
Case 3

 

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WHEREFORE, the Plaintiff Grace Abankwe demands judgment against the Defendants
Costco Wholesale Corporation, John Does 1-10 and/or XYZ Corps. 1-10, individually, jointly or
severally, for damages together with interest and costs of suit.

THIRD COUNT

1. Plaintiff Grace Abankwe repeats each and every allegation of the First and
Second Counts of the Complaint as if set forth at length herein verbatim.

Oe At the aforesaid time and place, the Defendants John Does 1-10 was an unknown
person or persons whose actions caused and/or contributed, directly or indirectly, to the incident
herein and the injuries and damages suffered by the Plaintiff Grace Abankwe.

3, At the aforesaid time and place, the Defendants XYZ Corps. 1-10 was an
unknown business, corporation and/or entity, whose agents, servant and/or employee’s actions
caused and/or contributed, directly or indirectly, to the incident herein and the injuries and
damages suffered by the Plaintiff Grace Abankwe.

4, As a direct and proximate result of the aforesaid carelessness, recklessness and
negligence of the Defendants John Does 1-10 and/or XYZ Corps. 1-10, the Plaintiff Grace
Abankwe was injured in and about her mind and body; was and will in the future be caused great
pain and suffering to her mind and body; was and will in the future be obliged to expend great
sums of money for medical aid and attention; has sustained economic loss; and was and will in

the future be unable to attend to her usual pursuits and occupations and was further damaged.

DAVIS, SAPERSTEIN & SALOMON, P.C.
-4- 375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

 

 
 

Case 3:2MERLEMDERRV-LMGO/ ERAT 1 PIMilEd S Sich T2ansPapeCl2 oF ta agelD: 10

WHEREFORE, the Plaintiff Grace Abankwe demands judgment against the Defendants
John Does 1-10 and/or XYZ Corps. 1-10 individually, jointly or severally, for damages together
with interest and costs of suit.

DAVIS, SAPERSTEIN & SALOMON, P.C.
Attorneys for Plaintiff(s)

Pattee -. Excguslawehs
Dated: April 30, 2021

 

BY: Patricia Z. Boguslawski, Esq.
For the Firm

JURY DEMAND
Plaintiff hereby demands a trial by jury on all triable issues raised in the various Counts
of the Complaint.
DESIGNATION OF TRIAL COUNSEL
Plaintiff hereby designates Patricia Z. Boguslawski, Esq. as trial counsel in this matter.

DAVIS, SAPERSTEIN & SALOMON, P.C.
Attorneys for Plaintiff(s)

Petucia x Ecgualewaks
Dated: April 30, 2021

 

BY: Patricia Z. Boguslawski, Esq.
For the Firm

DEMAND FOR ANSWERS TO INTERROGATORIES
Pursuant to Rule 4:17-1(B)(1), et seq., Plaintiff hereby demands that Defendant answer
Form "C" Uniform Set of Interrogatories of Appendix II, and supplemental Form "C2", within
the time prescribed by the Rules of Court.
Plaintiff reserves the right to propound additional supplemental Interrogatories pursuant

to the Rules of Court.

DAVIS, SAPERSTEIN & SALOMON, P.C.
-5- 375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

 

 
Case 3:AMERLEwDP19-20-LO4BO/RNRLArRA LPMTIIEg OS{E7T24ns Pagecl/Pas tha PagelD: 11

CERTIFICATION

I certify, pursuant to R.4:5-1, that to the best of my knowledge, information and belief at

this time, the matter in controversy is not the subject matter of any other action pending in any
other court, nor of any pending arbitration proceeding; that no other action or arbitration is

contemplated; and that there are no other parties who should be joined in this action.

DAVIS, SAPERSTEIN & SALOMON, P.C.
Attorneys for Plaintiff(s)

Patricia LZ. Bregusbawahs
Dated: April 30, 2021

 

BY: Patricia Z. Boguslawski, Esq.
For the Firm

DAVIS, SAPERSTEIN & SALOMON, P.C.
-6- 375 Cedar Lane

Teaneck, New Jersey 07666-3433

(201) 907-5000

 

 

 
Case 3:2MERACHOS-ASLRV-104(30/2NRd uA AMt LPNTiled OS/C7T24ns PagecV20s16 agelD: 12

Civil Case Information Statement

Case Details: MERCER | Civil Part Docket# L-000919-21

Case Caption: ABANKWE GRACE VS COSTCO Case Type: PERSONAL INJURY

WHOLESALE COR PORATION Document Type: Complaint with Jury Demand

Case Initiation Date: 04/30/2021 Jury Demand: YES - 6 JURORS

Attorney Name: PATRICIA ZANGRILLI BOGUSLAWSKI Is this a professional malpractice case? NO

Firm Name: DAVIS SAPERSTEIN & SALOMON PC Related cases pending: NO

Address: 375 CEDAR LN If yes, list docket numbers:

TEANECK NJ 07666 Do you anticipate adding any parties (arising out of same
Phone: 2019075000 transaction or occurrence)? NO

Name of Party: PLAINTIFF : Abankwe, Grace
Name of Defendant’s Primary Insurance Company
(if known): SELF INSURED

Are sexual abuse claims alleged by: Grace Abankwe? NO

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

04/30/2021 /s/ PATRICIA ZANGRILL| BOGUSLAWSK|
Dated Signed
Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 13 of 16 PagelD: 13

EXHIBIT B
Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 14 of 16 PagelD: 14

 

GARVEY, BALLOU

A PROFESSIONAL CORPORATION
COUNSELLORS AT LAW

PO Box 730

Allenwood, NJ 08720

(732) 341-1212

Attorneys for Defendant(s), Costco Wholesale Corporation
Our File No. 131.25598 RAB/ch

Attorney ID#: 017381982

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
GRACE ABANKWE SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: MERCER COUNTY
Plaintiff(s), DOCKET NO. MER-L-919-21

vs.

Civil Action
COSTCO WHOLESALE CORPORATION,
JOHN DOE(s) 1-10 (fictitious
names representing unknown
individuals) and/or XYZ CORP(s).
1-10 (fictitious names
representing unknown
corporations, partnerships
and/or Limited Liability
Companies or other types of
legal entities)

NOTICE TO THE CLERK OF THE
SUPERIOR COURT MERCER COUNTY OF
REMOVAL OF ACTION TO THE UNITED

STATES DISTRICT COURT

Defendant (s)

 

TO: Mercer County Superior Court
175 South Broad St.
Trenton, NJ 08650
Sir/Madam:
PLEASE TAKE NOTICE that attached hereto is a copy of a Notice of Removal

of this case, which has been filed with the Clerk of the United States District

Court for the District of New Jersey, removing this action to federal court.

GARVEY BALLOU

BY: _ [$f Robert A. Ballow, Ir.
ROBERT A. BALLOU, JR., ESQ.
Attorneys for Defendant
Costco Wholesale Corporation
Dated: May 7, 2021

 
Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 15 of 16 PagelD: 15

EXHIBIT C
Case 3:21-cv-10894-FLW-LHG Document1 Filed 05/07/21 Page 16 of 16 PagelD: 16

GARVEY, BALLOU

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COUNSELLORS AT LAW

PO Box 730

Allenwood, NJ 08720

(732) 341-1212

Attorneys for Defendant(s), Costco Wholesale Corporation
Our File No. 131.25598 RAB/ch

Attorney ID#: 017381982

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY

GRACE ABANKWE SUPERIOR COURT OF NEW JERSEY

LAW DIVISION: MERCER COUNTY

Plaintiff (s), DOCKET NO. MER-L-919-21
vs.
Civil Action

COSTCO WHOLESALE CORPORATION,
JOHN DOE(s) 1-10 (fictitious NOTICE TO ADVERSARY OF REMOVAL OF
names representing unknown ACTION

individuals) and/or XYZ CORP(s).
1-10 (fictitious names
representing unknown
corporations, partnerships
and/or Limited Liability
Companies or other types of
legal entities)

Defendant (s)

 

TO: Patricia Z. Boguslawski, Esq.
Davis, Saperstein & Salomon
375 Cedar Lane
Teaneck, NJ 07666
Attorney for Plaintiffs

Sir/Madam:

PLEASE TAKE NOTICE that in the above-entitled action, defendant,
Costco Wholesale Corporation, have this day filed a Notice of Removal, a
copy of which is attached hereto, in the Office of the Clerk of the United
States District Court for the District of New Jersey. You are also advised
that the defendant, upon filing of said Notice of Removal, filed a copy of
the Notice with the Clerk of the Superior Court of New Jersey, Law Division,
Burlington County, which has effected this removal, in accordance with 28
U.S.C. § 1446 (B).

GARVEY BALLOU

BY: /s/ Robert A. Ballow, Jr.
ROBERT A. BALLOU, JR., ESQ.
Attorneys for Defendant
Costco Wholesale Corporation

DATED: May 7, 2021

 

 
